ease 2:13-1:1.1122-SP1_ Documem 52 Filed 031/of Page 1 011

AO 442 (Rev. ll/ll) Arrest Warrant

 

 

 

 
  

 

 

UNITED STATES DISTRICT COURZ§;§
for the
District of Arizona
United States of America
V' § Case NO_ cR-18-00422~01-PHx-3P1_
)
) HLE.D WWM a
. ) m §§ LGDGEU
Mlchae| Lacey ) m RECEWED v §§§_§§j§
Defendant >
APR ` ?
ARREST WARRANT l 0 2013 l’ '

  
    

To:

D!QljiCT 01

Any authorized law enforcement officer t§§§

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge Without unne

(name of person to be arrested) |\/|jchae| |__acey

1:1_1;111< 11 5 1315 1

  

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cessary delay

 

who is accused of an offense or violation based on the following document filed With the court:

d Indictment El C

130

El Superseding Indictment EI lnforrnation [l Supersedinglnformation

13 Probation Violation Petition EI Supervised Release Violation Petition 111 Violation Notice

This offense is briefly described as follows:

18:371 - Conspiracy

18:1952(3)(3)(A) - Trave| Act - Faci|itate Prostitution
18:1956(h) - Conspiracy to Commit Money
18:1956(3)(1)(3)(i)- Concea|ment Money Laundering
18:1956(3)(2)(A)- international Promotiona| Money Laundering
18:1957(3)- Transactiona| Money Laundering

3/%3~

omplaint

rder of the Court

 

Date: 03/29/2018

/ .

.¢'Ssmng officer ’s signature
City and state: Phoenix, Arizona Amanda Duran, Deputy C|erk

 

 

Printea’ name and title

 

Return

 

 

  

at (cily and state)

1131 %3%
1111131131 3333

Date:

1

,and the person was arrested on (da¢e) g t

 

Prz'ntea' name and title

 

 

 

